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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          JASPER DIVISION

GREGORY BATES,                          )
                                        )
            Plaintiff,                  )
                                        )
      vs.                               )         Case No. 6:14-cv-906-TMP
                                        )
CAROLYN W. COLVIN,                      )
Commissioner of Social Security,        )
                                        )
            Defendant.                  )
                                        )


                         MEMORANDUM OPINION


I.    Introduction

      The plaintiff, Gregory Bates, appeals from the decision of the Commissioner

of the Social Security Administration (ACommissioner@) denying his application for

a period of disability, disability insurance benefits (ADIB@), and supplemental

security income (ASSI@).      Mr. Bates timely pursued and exhausted his

administrative remedies, and the decision of the Commissioner is ripe for review

pursuant to 42 U.S.C. '' 405(g), 1383(c)(3). The parties have consented to the

jurisdiction of the undersigned magistrate judge. Based upon the court=s review of


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the record and the briefs submitted by the parties, the court finds that the decision of

the Commissioner is due to be affirmed.

      Mr. Bates was 46 years old at the time of the Administrative Law Judge=s

(AALJ@) decision, and he was deemed to have a Amarginal@ education. (Tr. at 159).

The ALJ further found that Mr. Bates has no past relevant work experience. (Id. )

Mr. Bates performed some work, helping a woman with a produce stand for a few

hours a week, and was paid about $50 per week, but the work was insufficient to be

deemed gainful. (Tr. at 153). Mr. Bates claims that he became disabled on

June 30, 2009, due to pain in his legs and feet, diabetes, obesity, high cholesterol,

and an inability to read well. (Tr. at 290).

      When evaluating the disability of individuals over the age of eighteen, the

regulations prescribe a five-step sequential evaluation process. See 20 C.F.R.

'' 404.1520, 416.920; see also Doughty v. Apfel, 245 F.3d 1274, 1278 (11th Cir.

2001). The first step requires a determination of whether the claimant is Adoing

substantial gainful activity.@ 20 C.F.R. '' 404.1520(a)(4)(i), 416.920(a)(4)(i). If

he or she is, the claimant is not disabled and the evaluation stops. Id. If he or she

is not, the Commissioner next considers the effect of all of the claimant=s physical

and   mental impairments combined.              20   C.F.R. '' 404.1520(a)(4)(ii),


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416.920(a)(4)(ii). These impairments must be severe and must meet the durational

requirements before a claimant will be found to be disabled. Id. The decision

depends upon the medical evidence in the record. See Hart v. Finch, 440 F.2d 1340,

1341 (5th Cir. 1971). If the claimant=s impairments are not severe, the analysis

stops. 20 C.F.R. '' 404.1520(a)(4)(ii), 416.920(a)(4)(ii).   Otherwise, the analysis

continues to step three, which is a determination of whether the claimant=s

impairments meet or equal the severity of an impairment listed in 20 C.F.R. pt. 404,

Subpart P, Appendix 1. 20 C.F.R. '' 404.1520(a)(4)(iii), 416.920(a)(4)(iii). If the

claimant=s impairments fall within this category, he or she will be found disabled

without further consideration. Id. If his impairments do not meet or equal the

severity of the listed impairments, a determination of the claimant=s residual

functional capacity (ARFC@) will be made, and the analysis proceeds to the fourth

step. 20 C.F.R. '' 404.1520(e), 416.920(e). Residual functional capacity is an

assessment, based on all relevant evidence, of a claimant=s remaining ability to do

work despite his impairments. 20 C.F.R. ' 404.1545(a).

      The fourth step requires a determination of whether the claimant=s

impairments prevent him from returning to past relevant work.            20 C.F.R.

'' 404.1520(a)(4)(iv), 416.920(a)(4)(iv).   If the claimant can still do his past


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relevant work, the claimant is not disabled and the evaluation stops. Id. If the

claimant cannot perform past relevant work, then the analysis proceeds to the fifth

step. Id. Step five requires the court to consider the claimant=s RFC, as well as the

claimant=s age, education, and past work experience, in order to determine if he can

do other work. 20 C.F.R. '' 404.1520(a)(4)(v), 416.920(a)(4)(v). If the claimant

can perform other work, the claimant is not disabled.           Id.   The burden of

demonstrating that other jobs exist which the claimant can perform is on the

Commissioner; and, once that burden is met, the claimant must prove his inability to

perform those jobs in order to be found to be disabled. Jones v. Apfel, 190 F.3d

1224, 1228 (11th Cir. 1999).

      Applying the sequential evaluation process, the ALJ found that Mr. Bates has

not been under a disability within the meaning of the Social Security Act from the

date of onset through the date of her decision. (Tr. at 160).    She first determined

that Mr. Bates has not engaged in substantial gainful activity since the alleged onset

of his disability.   (Tr. at 153).     According to the ALJ, plaintiff=s obesity,

hypertension, diabetes mellitus with neuropathy, degenerative joint disease (“DJD”)

of the right knee, and borderline intellectual functioning (“BIF”) are considered

Asevere@ based on the requirements set forth in 20 C.F.R. '' 404.1520(c) and


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416.920(c). (Tr. at 154). However, she found that these impairments neither meet

nor medically equal any of the listed impairments in 20 C.F.R. Part 404, Subpart P,

Appendix 1. (Tr. at 155). The ALJ further found that Mr. Bates= dysthemia was

mild, and he had no other symptoms severe enough to meet any listing for mental

disorders in Section 12.00C. (Tr. at 154). The ALJ also ruled out listing 9.08,

because the neuropathy in his legs and feet has not demonstrated Asignificant and

persistent disorganization of motor function in two extremities resulting in sustained

disturbance of gross and dexterous movements, gait and station@ and because he

does not have Aacidocis occurring at least on an average of once every two months or

retinitis proliferans.@ (Tr. at 155). The ALJ further stated that the claimant=s

obesity was not so severe as to be found in any listing, and that his borderline

intellectual functioning does not meet or equal listing 12.02 (organic mental

disorder) or 12.05 (intellectual disability) because he shows no abnormalities

associated with brain dysfunction, has an IQ in the mid-70s, and is able to take care

of his personal needs, drive, shop, and prepare simple meals. (Tr. at 155).

      The ALJ further determined that Mr. Bates has the following residual

functional capacity: a range of light work, standing and/or walking two to four hours

in an eight-hour work day, sitting the remainder of the day, with occasional


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balancing, stooping, kneeling, crouching, and climbing ramps or stairs, but never

climbing ropes, ladders, or scaffolds, and never crawling. She further found that

Mr. Bates should avoid concentrated cold temperatures, extreme wetness and

humidity, and unprotected heights. Finally, she found that Mr. Bates cannot do

Aprolonged reading for content and comprehension,@ or mathematical calculations.

(Tr. at 155). The ALJ further found that the claimant’s statements regarding the

intensity, persistence, and limiting effects of his symptoms were not credible to the

extent that they are inconsistent with the RFC. (Tr. at 156).

      The ALJ pointed out that the medical records do not show that Mr. Bates was

seeking any treatment for his diabetes, obesity, or knee and leg pain at the time that

he alleges his disability began in June 2009. He visited the ER about six months

later for bronchitis. (Tr. at 354). In February 2011 he sought care for tooth pain

after an extraction. (Tr. at 355-57). He visited a different ER in May of 2011,

complaining of dizziness and ringing in the ears, which he said had begun a month

and a half before his visit. (Tr. at 361).   He did not complain of any severe pain,

and did not report that he was diabetic. (Tr. at 361).      Records from an Urgent

Care of Russellville visit in October of 2011 were the first indication that Mr. Bates

had diabetes and joint pain. (Tr.at 363). The ALJ noted that Mr. Bates received


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medication for the diabetes, but was not prescribed any pain medication despite

complaints of knee pain. (Id.) An ER visit in October 2011 further indicates that

diabetes and hypertension were Anewly diagnosed@ two months before that visit.

(Tr. at 370). The ALJ further considered the medical records indicating that Mr.

Bates is morbidly obese and that he has an IQ in the mid 70s, placing him in the

borderline range of intellectual ability. (Tr. at 157).

      Moving to the fourth step of the analysis, the ALJ concluded that Mr. Bates

has no past relevant work and was a younger individual on the alleged onset date.

(Tr. at 159).   The ALJ considered the testimony of a vocational expert, and

determined that he was able to perform work as a tube operator, table worker, and

egg processor, and that such jobs exist in a significant number in the state and

national economies. (Tr. at 160). The ALJ concluded her findings by stating that

Mr. Bates is not disabled as defined in the Social Security Act, Sections 216(i) and

223(d). (Tr. at 161).



II.   Standard of Review

      This court=s role in reviewing claims brought under the Social Security Act is

a narrow one. The scope of its review is limited to determining (1) whether there is


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substantial evidence in the record as a whole to support the findings of the

Commissioner, and (2) whether the correct legal standards were applied. See

Richardson v. Perales, 402 U.S. 389, 390, 401 (1971); Wilson v. Barnhart, 284 F.3d

1219, 1221 (11th Cir. 2002). Substantial evidence is Amore than a scintilla and is

such relevant evidence as a reasonable person would accept as adequate to support a

conclusion.@ Crawford v. Commissioner of Soc. Sec., 363 F.3d 1155, 1158 (11th

Cir. 2004), quoting Lewis v. Callahan, 125 F.3d 1436, 1439-40 (11th Cir. 1997).

The Court approaches the factual findings of the Commissioner with deference, but

applies close scrutiny to the legal conclusions. See Miles v. Chater, 84 F.3d 1397,

1400 (11th Cir. 1996).    The court may not decide facts, weigh evidence, or

substitute its judgment for that of the Commissioner.       Id.   AThe substantial

evidence standard permits administrative decision makers to act with considerable

latitude, and >the possibility of drawing two inconsistent conclusions from the

evidence does not prevent an administrative agency=s finding from being supported

by substantial evidence.=@ Parker v. Bowen, 793 F.2d 1177, 1181 (11th Cir. 1986)

(Gibson, J., dissenting) (quoting Consolo v. Federal Mar. Comm=n, 383 U.S. 607,

620 (1966)). Indeed, even if this court finds that the evidence preponderates

against the Commissioner=s decision, the court must affirm if the decision is


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supported by substantial evidence. Miles, 84 F.3d at 1400.                   No decision is

automatic, however, for Adespite this deferential standard [for review of claims] it is

imperative that the Court scrutinize the record in its entirety to determine the

reasonableness of the decision reached.@ Bridges v. Bowen, 815 F.2d 622, 624

(11th Cir. 1987). Moreover, failure to apply the correct legal standards is grounds

for reversal. See Bowen v. Heckler, 748 F.2d 629, 635 (11th Cir. 1984).



III.   Discussion

       Mr. Bates alleges that the ALJ=s decision should be reversed and remanded

because, he asserts, the ALJ=s decision failed to properly evaluate the claimant as

“illiterate,” and failed to sufficiently determine the effects of obesity on his ability to

work. (Doc. 10, pp. 14-23).         Specifically, he argues that the ALJ failed to apply

Grid Rule 201.17, 1 which provides that a younger individual age 45-49 who is

illiterate and whose previous work experience is unskilled or none is deemed
       1
         In relevant part, Grid Rule 201.17, 20 C.F.R. § 201.00(h)(1), Part 404, Subpart P,
Appendix 2, provides:

       Accordingly, a finding of “disabled” is warranted for individuals age 45-49 who:

        (i) Are restricted to sedentary work,
        (ii) Are unskilled or have no transferable skills,
        (iii) Have no past relevant work or can no longer perform past relevant work, and
        (iv) Are unable to communicate in English, or are able to speak and understand
       English but are unable to read or write in English.

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disabled. In addition, Mr. Bates argues that the ALJ=s discussion of his obesity was

insufficiently detailed to comply with SSR 02-1p. The court must be aware that

opinions such as whether a claimant is disabled, the claimant’s residual functional

capacity, and the application of vocational factors Aare not medical opinions, . . . but

are, instead, opinions on issues reserved to the Commissioner because they are

administrative findings that are dispositive of a case; i.e., that would direct the

determination or decision of disability.@ 20 C.F.R. '' 404.1527(e), 416.927(d).

Whether the Plaintiff meets the listing and is qualified for Social Security disability

benefits is a question reserved for the ALJ, and the court Amay not decide facts anew,

reweigh the evidence, or substitute [its] judgment for that of the Commissioner.@

Dyer v. Barnhart, 395 F.3d 1206, 1210 (11th Cir. 2005). The court’s task is to

determine whether the ALJ applied the correct legal standards and whether there is

substantial evidence in the record supporting the ALJ’s conclusion, even if the court

would have decided the matter differently.

              A. Illiteracy

       The ALJ did not make any adjudication regarding whether Mr. Bates is

illiterate.   She did, however, find that the claimant=s borderline intellectual

functioning does not meet or equal listing 12.02 (organic mental disorder) because


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he shows no abnormalities associated with brain dysfunction as required for a listing

under 12.02. She further found that he did not meet listing 12.05 (intellectual

disability) because has an IQ in the mid-70s and he is able to take care of his

personal needs, drive, shop, and prepare simple meals. (Tr. at 155). The 12.05

criterion require an IQ of 59 or less, or an IQ of 60 to 70, along with additional

difficulties and impairments. The claimant does not argue that his mental disability

places him within those listings. Instead, he asserts that he is disabled under Grid

Rule 201.17, which provides that a Ayounger individual@ aged 45 to 49, who has an

RFC for sedentary work, who is illiterate or unable to communicate in English, who

has a work history of only unskilled work, is entitled to a decision in favor of

disability.

       The Commissioner counters that the plaintiff did not prove that he is illiterate,

and that the ALJ=s finding that Mr. Bates had a Amarginal@ education was proper.

Such a finding places Mr. Bates outside the reach of Grid Rule 201.17. The

Commissioner urges the application of Grid Rule 201.18, which instructs that a

younger individual with a limited education who is Aat least literate and able to

communicate in English@ is to be found Anot disabled.@2 Thus, the question here is


       2
            Both of these grid rules apply to individuals with an RFC that limits them to sedentary

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whether the ALJ’s determination that the claimant has a “marginal education,” rather

than being “illiterate,” is supported by substantial evidence in the record.

       The Commissioner=s regulations define illiteracy as:

       Illiteracy means the inability to read or write. We consider someone
       illiterate if the person cannot read or write a simple message such as
       instructions or inventory lists even though the person can sign his or her
       name. Generally, an illiterate person has had little or no formal
       schooling.


20 C.F.R. ' 404.1564(b)(1).           A marginal level of education is also defined by the

regulations:


       Marginal education means ability in reasoning, arithmetic, and
       language skills which are needed to do simple, unskilled types of jobs.
       We generally consider that formal schooling at a 6th grade level or less
       is a marginal education.


20 C.F.R. ' 404.1564(b)(2).

       It has been explained in other cases within the Eleventh Circuit that the

number of grades in school a claimant has completed does not provide a definitive

work. The RFC set forth by the ALJ in this case provided for a range of light work, which would
trigger Grid Rules 202.17 and 202.18, both of which call for a finding of Anot disabled.@
However, the only jobs available to Mr. Bates, per the testimony of the VE, were sedentary jobs.
(Tr. at 186-187). There is no explanation in the ALJ=s decision, or in the transcript of the hearing,
as to why no Alight work@ jobs were available to Mr. Bates, whose exertional limitations, according
to the ALJ, permitted him to perform light work.


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answer to whether a claimant is illiterate under the regulations. See, e.g., Wolfe v.

Chater, 86 F.3d 1072, 1076 (11th Cir. 1996). In fact, the regulations provide that

the grade level completed Amay not represent actual educational abilities.@ 20

C.F.R. ' 416.964(b). Where there is no substantial evidence to support a finding

that the claimant has a marginal education, the case should be remanded for further

findings of fact on the question of literacy. Wolfe, 86 F.3d at 1077. Because

literacy is "a component of the education category under the grids," the

Commissioner bears the burden of proof on the matter. Hood v. Astrue, 2010 WL

1223885 * 5 (M.D. Fla., March 24, 2010), citing 20 C.F.R. ' 405.1560(c)(2) and

Wolfe, 86 F.3d 1072.

      In this case, Mr. Bates claimed in his application that he Acan=t read well.@

(Tr. at 290). When asked why he left his last job as a night watchman, he said he

was fired because he could not fill out the required paperwork at the end of the shift,

and that he had been able to work a few months because the other guard helped him

fill out the paperwork. At the hearing, the following transpired:

      Q:      And why couldn=t you fill out the paperwork?

      A:     I can=t read that good. I just B I can=t fill out application, I just
             don=t know how to fill it out like some of the names but I can=t fill
             out the rest of it. Like if something happened or something like
             that I can=t put it on paper.

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       Q:       Well have you tried to learn how to read?

       A:       Yes, ma=am. I=ve had tutors [inaudible] and I never could pick it
                up. I=d get like the second grade and after that I couldn=t pick it
                up.

       Q:       Why not?

       A:       Well when I look at a word, I look at it right in the middle of a
                word they say the one that test me. Instead of right to left or left
                to right, I look at it right in the middle and I just can=t explain it.
                I just B

       Q:       Well I know a lot of people who are dyslexic and they=re able to
                work. Have you tried to overcome your dyslexia?

       A:       Well that=s the reason I had tutors when I was growing up and I
                was in B I was in special education.


(Tr. at 174-75). 3 He also testified that when he went to apply for jobs, someone else

would fill out the applications for him. (Tr. at 185). Also, when asked how he

knew how long to cook TV dinners in a microwave oven, he replied:


       A:       I don’t, I just put it in there for three or four minutes, take it out.

       Q:       How do you know how to program the microwave?

       3
              There is no evidence in the record that any teacher, counselor, physician, or
psychologist ever described Mr. Bates’s inability to read as being due to dyslexia. The ALJ
appears to have speculated about this learning disability based on his one-sentence explanation at
the hearing. That speculation is not supported by substantial evidence, however.


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       A:       It’s just, it’s got to cook on there and I just put like five minutes or four
                minutes, just punch a four in.


(Tr. at 177).

       When the vocational expert began to testify, she described Mr. Bates as

having an Aeighth-grade education.@              (Tr. at 185).       The ALJ=s hypothetical

questions that followed assumed a man with Athe claimant=s education@ and added

the restriction that there be no Aprolonged reading for content or comprehension or

any advanced mathematical calculations.@ (Tr. at 187). Neither the ALJ nor the

claimant=s attorney asked any questions regarding illiteracy or that Mr. Bates had

difficulty reading at a much lower level than grade eight. 4

       In his disability report form, Mr. Bates reported that he could speak and

understand English, but that he could not read and understand written English, and

could not write more than his name in English. (Tr. at 289). He further indicated

that he finished the eighth grade but had attended special education classes. (Tr. at

291). The forms he submitted were filled out by his cousin, Theresa Orrick. (Tr. at

309, 326). When asked about her at the hearing, he said he had "no idea" how to

       4
              While it was adduced that Mr. Bates has a driver's license, there were no questions
asked regarding whether he passed the written test or was given an oral exam to obtain the license.


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spell her name. (Tr. at 172). The only school records contained in the underlying

record are: (1) a report from the eighth grade which appears to indicate that Mr.

Bates had all Ds and Fs on his report card, and that he withdrew before the end of the

year, (2) a report from a Texas school in which he received all Ds and Fs in 1981; and

(3) a report from the seventh grade, in which he made all Ds and Fs except in

physical education. (Tr. at 340-43).

      The court finds that the record here is insufficient to support a finding that

Mr. Bates had a marginal education. There is no substantial evidence that Mr. Bates

is able to read or write, and, indeed, that is extensive evidence to the effect that he

cannot read or write. Additionally, as mentioned above, although the ALJ found

that Mr. Bates’s RFC put him in the light work category, the VE opined only that Mr.

Bates could perform sedentary work. The VE explicitly testified that, with the

reading limitation found by the ALJ, jobs were available to Mr. Bates only in the

sedentary level. (Tr. at 186-187). If it is true that Mr. Bates can perform only

sedentary jobs and he is “illiterate,” it would appear that Grid Rule 201.17 would

dictate a finding of disability. Therefore the ALJ's decision is due to be reversed

and remanded for an examination of Mr. Bates's education level and a determination

of whether he is “illiterate” within the meaning of Grid Rule 201.17.


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             B. Obesity

      Plaintiff also asserts that the ALJ erred in failing to properly consider the

effect of his obesity on his ability to work. (Doc. 10, pp. 19-23).     However, the

ALJ did state that she considered the effects of Mr. Bates's obesity in formulating his

RFC, and that she did apply Social Security Ruling 02-01p. (Tr. at 157). Although

the plaintiff described dizziness, shortness of breath, pain in his legs, and numbness,

the ALJ noted that the medical records contained only limited medical treatment for

these complaints, and that his allegations regarding the limitations caused by these

conditions was not fully credible. While the record contains several instances of

medical professionals counseling Mr. Bates about the need to loose weight, none

found any impairment was related to his obesity or imposed any restrictions upon

him due to the obesity. Even the most favorable medical evidence for the claimant,

Dr. Long’s letter of August 31, 2012, fails to mention obesity as an impairment or

contributing medical condition. Accordingly, the ALJ's decision regarding the

effects of obesity was supported by substantial evidence and was both

comprehensive and consistent with the applicable SSA rulings. The objective

medical and other evidence supports the ALJ=s conclusion that plaintiff=s obesity,

while severe, did not cause disabling limitations.


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IV.   Conclusion

      Upon review of the administrative record, and considering all of Mr. Bates=s

arguments, the Commissioner=s decision hereby is due to AFFIRMED as to the

consideration of the effects of obesity, but VACATED and REMANDED for a new

hearing and findings of fact with respect to whether the claimant is illiterate and

limited to sedentary jobs (and, thus, disabled) within the meaning of Grid Rule

201.17, 20 C.F.R. 201.00(h)(1), Part 404, Subpart P, Appendix 2.


      DATED the 27th day of May, 2015.




                                      _______________________________
                                      T. MICHAEL PUTNAM
                                      UNITED STATES MAGISTRATE JUDGE




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